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 In re:                                                                                                                          CHAPTER: 11
            Marc Joseph Spizzirri
                                                                                                               Debtor(s).        CASE NUMBER: 8:13-bk-14702 MW




                                                   PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

840 Newport Center Drive
Suite 750
Newport Beach, CA 92660

A true and correct copy of the foregoing document entitled: OPERATING REPORT NO. 10 (MARCH 2014)
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d);
and (b) in the manner stated below:
 1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General Orders and
LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On May 9 2014 I checked the
CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the following persons are on the Electronic Mail
Notice List to receive NEF transmission at the email addresses stated below:




                                                                                                       Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On ______________ I served the following persons and/or entities at the last known
addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the
United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing
to the judge will be completed no later than 24 hours after the document is filed.

                                                                                                       Service information continued on attached page


3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method for each
person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on May 9, 2014, I served the following persons and/or entities
by personal delivery, overnight mail service, or (for those who consented in writing to such service method), by facsimile transmission
and/or email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the judge will be
completed no later than 24 hours after the document is filed.

VIA OVERNIGHT MAIL
The Honorable Mark S. Wallace
United States Bankruptcy Court, Central District
Ronald Reagan Federal Building and Courthouse
411 West Fourth Street, Suite 6135
Santa Ana, CA 92701-4593


                                                                                                       Service information continued on attached page



I declare under penalty of perjury under the laws of the United States of America that the foregoing is true and correct.



5/9/2014                     Nancy Lockwood                                                              /s/ Nancy Lockwood
Date                         Printed Name                                                                Signature


                          This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                                                                    9013-3.1.PROOF.SERVICE
          Case 8:13-bk-14702-MW                       Doc 343 Filed 05/09/14 Entered 05/09/14 17:23:24                                                         Desc
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 In re:                                                                                                                        CHAPTER 11
          Marc Joseph Spizzirri
                                                                                                             Debtor(s).        CASE NUMBER 8:13-bk-14702 MW




1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF)

     ·     Frank Cadigan frank.cadigan@usdoj.gov
     ·     Dan E Chambers dchambers@clfca.com
     ·     Ronald R Cohn rcohn@horganrosen.com
     ·     Caroline Djang cdjang@rutan.com
     ·     Nichole Glowin nglowin@wrightlegal.net, bkgroup@wrightlegal.net
     ·     Robert P Goe , rgoe@goeforlaw.com;mforsythe@goeforlaw.com
     ·     Christina Goebelsmann cgoebelsmann@wargofrench.com
     ·     Nancy S Goldenberg nancy.goldenberg@usdoj.gov
     ·     Brian T Harvey bharvey@buchalter.com, IFS_filing@buchalter.com;rreeder@buchalter.com
     ·     James Andrew Hinds jhinds@jhindslaw.com, zbilowit@jhindslaw.com
     ·     Stephen E Hyam shyam@clarktrev.com
     ·     John Mark Jennings jjennings@shbllp.com
     ·     Elizabeth A Lossing elizabeth.lossing@usdoj.gov
     ·     Mike D Neue mneue@lntlaw.com, jokeefe@lntlaw.com;nlockwood@lntlaw.com
     ·     Tom Roddy Normandin tnormandin@pnbd.com, nwong@pnbd.com
     ·     Robert E Opera ropera@winthropcouchot.com,
           pj@winthropcouchot.com;vcorbin@winthropcouchot.com;jstuhlmiller@winthropcouchot.com
     ·     Eric S Pezold epezold@swlaw.com, dwlewis@swlaw.com
     ·     Brett Ramsaur bramsaur@swlaw.com, kcollins@swlaw.com
     ·     Todd C. Ringstad becky@ringstadlaw.com
     ·     Paul R Shankman pshankman@jhindslaw.com
     ·     Leonard M Shulman lshulman@shbllp.com
     ·     Scott O Smith ssmith@buchalter.com
     ·     Derrick Talerico dtalerico@lntlaw.com, nlockwood@lntlaw.com;jokeefe@lntlaw.com
     ·     United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov
     ·     Michael J. Weiland mweiland@wgllp.com, lfisk@wgllp.com
     ·     Barouir B Yeretzian byeretzian@jhindslaw.com, yeretzian@gmail.com




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January 2009                                                                                                                                                 F 9013-3.1
